      Case 4:22-cv-00430-Y Document 34 Filed 08/18/22                Page 1 of 8 PageID 848



                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                 FORT WORTH DIVISION

EUGENIO VARGAS,                                §
                                               §
     Plaintiff/Counterclaim Defendant,         §
                                               §
v.                                             §       Civil Action No. 4:22-cv-00430-Y
                                               §
ASSOCIATION OF PROFESSIONAL                    §
FLIGHT ATTENDANTS, JULIE                       §
HEDRICK, AND ERIK HARRIS,                      §
                                               §
     Defendants/Counterclaim Plaintiffs.       §


          UNION DEFENDANTS’ REPLY TO PLAINTIFFS’S RESPONSE (DOC 28)
                    AND/OR AMENDED RESPONSE (DOC 31) TO
              THE UNION DEFENDANTS’ MOTION TO DISMISS (DOC. 24)

I.        INTRODUCTION

          A careful review of both Plaintiff’s Response to Defendants’ motion to dismiss (doc. 28)

(“Pl. Resp.”) and Plaintiff’s subsequent and untimely and noncompliant Amended Response to

the Motion (doc. 31) (“Pl. Am. Resp.”)1 -- filed in violation of the Local Rules and requirements

of this Court2 -- underscores that a single issue of law is adversely dispositive of the entirety of



1
  For purposes of judicial economy, we address Plaintiff’s Amended Response (doc. 31) below
rather than move to strike that untimely and non-compliant submission, which was filed in
violation of the Local Rules of this Court (See LR 7.1) and this Court’s specific case
management requirements. We address Plaintiff’s untimely submission below without waiving
our objection thereto.

2
  Plaintiff’s Amended Response (doc. 31) was untimely filed on August 10, 2022 six days after
his response date of August 4, 2022, without leave of court, in violation of LR 7.1(e ). The
timely filing of Plaintiff’s original response (doc. 28) did not grant him license to freely amend
his response thereafter. Furthermore, both his original and amended responses fail to conform to
the requirements of LR 7.2 (d) and (e ). Moreover, Plaintiff’s re-filed “appendix” to his response
(doc. 32) continues to suffer from the same failures to comply with the Local Rules and this
Court’s requirements which were the stated reasons for un-filing (doc. 30) Plaintiff’s original
non noncompliant “appendix.” (doc. 29) (See LR. 7.1(i) and 7.2(e ). Indeed, the docket in this

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      Case 4:22-cv-00430-Y Document 34 Filed 08/18/22                Page 2 of 8 PageID 849



Plaintiff’s claims in this case: whether judicial review of an arbitrator’s decision issued pursuant

to a union constitution -- a constitution that Plaintiff concedes is a Section 301(a) “contract,” the

same as any labor/management collective bargaining agreement3 -- is subject to precisely the

same “highly deferential” standard of judicial review that governs review of any other arbitration

decision issued under a Section 301(a) “contract”4 and which indeed governs judicial review of

arbitration decisions generally; or whether, as Plaintiff argues, the arbitrator’s decision in this

case should instead be subject to judicial review pursuant to LMRDA Section 101(a)(5), which

governs internal, union-conducted, non-arbitral disciplinary proceedings, even though neither

the union nor its officers were even parties to the arbitration proceedings at issue in this case.5

II.      ARGUMENT

         Plaintiff has not cited a single precedent from any court or administrative body or any

policy basis for holding that the same deferential standard should not govern judicial review of




case is replete with filings by Plaintiff violative of the Federal and Local Rules (See docs. 22, 26,
and 27; FRCP 5(d)(1)(A) and LR 5.2(c) and (d)).
3
  Although Plaintiff does not dispute that the APFA Constitution is a Section 301(a) “contract,”
the same as any labor/management collective bargaining agreement, Plaintiff misunderstands the
nature of that Section 301(a) “contract” which is between “labor organizations” under Section
301(a), here the parent APFA and its local union affiliates. (so-called “Bases.”). Def. Mot. 10; Pl.
Am. Resp. 14-15.
4
 See summary of precedent in Ball Metal Container Corp. v. United Auto Workers Local 129,
2022 U.S. App. LEXIS 33214, 2022 WL 340573 at *7-8 (5th Cir. 2022) (unpublished).
5
  Pl. Am. Resp. 9-10. Plaintiff repeatedly miscites LMRDA Section 102 as a purported basis for
subject matter jurisdiction in this case. Pl. Am. Resp. 2, 9-13, 17. Section 102 provides general
subject matter jurisdiction for enforcement of all of the provisions of LMRDA Title I, but the
only substantive LMRDA provision cited by Plaintiff as specific grounds for subject matter
jurisdiction in this case is Section 101(a)(5). Pl. Am. Resp. 9-12, 17-18. If Section 101(a)(5) is
inapplicable here, in other words, there can be no other jurisdiction under Section 102.


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    Case 4:22-cv-00430-Y Document 34 Filed 08/18/22                  Page 3 of 8 PageID 850



arbitration decisions issued under any Section 301(a) “contract.”6 And this same deferential

standard of judicial review likewise applies, without exception, to commercial, non-labor

arbitrations beyond Section 301(a). E.g., Lalo LLC v. Hawk Apparel, Inc., 2022 U.S. Dist.

LEXIS 72218, 2022 WL 1173801 at *5-7 (N.D. Tex. 2022) (J. Lindsay).

       If, as Defendants submit, the legal standard for judicial review of any and all

labor/management arbitration decisions issued pursuant to a Section 301(a) “contract” governs

judicial review of this arbitration decision likewise issued under a Section 301(a) “contract,”

Plaintiff’s case should be dismissed in its entirety. This is so because, as Plaintiff now concedes,

Section101(a)(5) is the only subject matter jurisdiction asserted by Plaintiff as a basis for

challenging the arbitrator’s decision in this case (Complaint, pages 8-9, paragraphs 37-44; Pl.

Am. Resp. 9-11, 17), so that Rule 12(b)(1) requires dismissal of Plaintiff’s claims for failure to

satisfy his burden of proving a valid subject matter jurisdiction. Ramming v. United States, 281

F.3d 158, 161 (5th Cir. 2001) (per curiam).

       Dismissal of Plaintiff’s attempts to vacate the arbitration decision is also warranted under

Rule 12(b)(6) because Plaintiff has never even claimed -- to the arbitrator, to this Court in his

Complaint or in his opposition to Defendants’ motion (Def. Motion 8; Pl. Am. Resp.10) -- that

the arbitrator “exceeded his jurisdiction”7 or violated the terms of the APFA Constitution as the

governing Section 301(a) “contract” in this case. As this Court has explained:


6
  Plaintiff offers the baseless accusation, without an ounce of supporting record reference, that
Defendants “have provided misleading interpretations of the law” and “inconsistent
interpretations of Plaintiff’s claims” (Pl. Am. Resp. 3), while ironically mischaracterizing
Defendants’ position to be that the LMRDA “provisions no longer govern any internal union
matters.” Pl. Am. Resp. 3, 8. Of course, the LMRDA governs internal union governance but not
external arbitration decisions.

7
 While stating that arbitrators may not “exceed[] their authority,” Plaintiff never claims or
attempts to explain how or in what manner the Arbitrator allegedly exceeded his authority or
jurisdiction in this case. Pl. Am. Resp. 11.

                                                  3
    Case 4:22-cv-00430-Y Document 34 Filed 08/18/22                 Page 4 of 8 PageID 851



       Judicial review of an arbitration decision arising from the terms of a CBA is narrowly
       limited, and the Court is required to afford great deference to the arbitral award. See
       Beaird Industries, Inc. v. Local 2297, 404 F.3d 942, 944 (5th Cir. 2005). [*12] The
       Supreme Court has emphasized that

               the question of interpretation of the [contract at issue] is a question for the
               arbitrator. …(S)o far as the arbitrator's decision concerns construction of the
               contract, the courts have no business overruling him because their interpretation
               of the contract is different than his.

       United Steelworkers of America v. Enterprise Wheel & Car Corp., 363 U.S. 593, 598-99,
       (1960). Of course, the arbitrator is not free to disregard the terms of the CBA and
       impose" his own brand of industrial justice." Beaird, 404 F.3d at 944. Accordingly, the
       Court will affirm an arbitral award "'as long as the arbitrator is even arguably construing
       or applying the contract and acting within the scope of his authority. . . ." Id. (quoting
       United Paperworkers Int'l Union v. Misco, Inc., 484 U.S. 29, 38 (1987)). If the
       arbitrator's decision "draw[s] its essence from the [contract] . . . the fact a court is
       convinced he committed serious error does not suffice to overturn his decision."
       (2000) [*13] (internal quotations and citations omitted).

Allied Waste Systems Inc. v. Teamsters Local 767, 2007 U.S. Dist. LEXIS 43035, 2007 WL

1703634 at *11-13, 19-21 (N.D. Tex. 2007) (J. Means) (awarding attorney fees for baseless

challenge to an arbitrator’s decision). 8


       Plaintiff’s attempts to circumvent the axiomatic deference due to arbitration decisions are

baseless. Pl. Am. Resp. 15-17. Obviously, American Airlines was not a party to the arbitration

but neither was the Union. Pl. Am. Resp. 14. And while the union constitution is not a collective

bargaining agreement, both are LMRA Section 301(a) “contracts” as Plaintiff concedes. Pl. Am.

Resp. 14-15. Nor does the deferential standard of review due arbitration decisions “frustrate” the



8
  While conceding that his initial assertion of subject matter jurisdiction based on the Federal
Arbitration Act (“FAA”) was mistaken (Pl. Am. Resp. 9), Plaintiff nevertheless proceeds to cite
the FAA as the applicable standard of review. Pl. Am. Resp. 9-10. This is circuitous and
erroneous, and futile as well. The FAA, even if applicable, would impose the same highly
deferential standard of judicial review of the arbitration decision at issue as is applicable under
Section 301(a). Lalo LLC v. Hawk Apparel, Inc., 2022 U.S. Dist. LEXIS 72218, 2022 WL
1173801 at *5-7 (N.D. Tex. 2022) (J. Lindsay).


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    Case 4:22-cv-00430-Y Document 34 Filed 08/18/22                 Page 5 of 8 PageID 852



policies underlying the LMRDA Section 101(a)(5); those policies are inapplicable here and

apply to internal union governance not to external and independent arbitration decisions. And,

contrary to Plaintiff’s mischaracterization of his own Complaint, there is no substantive

allegation in that Complaint that the arbitrator here has ever engaged in any “dishonesty” of the

kind referenced in the Supreme Court decision cited by Plaintiff as a basis for avoiding judicial

deference to the arbitrator’s decision. Pl. Am. Resp. 16-17; Complaint, paras. 30-35. Major

League Baseball Players Ass’n v. Garvey 532 U.S. 504, 509 (2001).

       In other words, in the absence of subject matter jurisdiction under LMRDA Section

101(a)(5), any dispute between the parties over the arbitrability of the underlying dispute -- or

even a contention by Plaintiff that the arbitrator exceeded his jurisdiction or violated the terms of

the APFA Constitution under the highly deferential Section 301(a) standard of judicial review --

any claim by Plaintiff that the arbitration decision should be vacated must be dismissed under

both Rule 12(b)(1) and Rule 12(b)(6).9




9
  As noted, Plaintiff’s ancillary and state law claims should be dismissed under Federal Rule
12(b)(1) given the lack any supporting federal subject matter jurisdiction. Complaint, pages 9-11
at paragraphs. 45-57. Those claims are all factual and procedural claims closely related to the
arbitration process and remedy at issue must be dismissed under Rule 12(b)(6) on Section 301(a)
preemption grounds as well. Def. Motion 8-10.
Further, Plaintiff does not dispute Defendants’ showing that this suit as against the individual
Defendant APFA officers Hedrick and Harris is barred by LMRA Section 301(b). Def. Mot. 9,
fn. 9. Nor does Plaintiff dispute Defendants’ showing that to the extent he intended to make a
claim under Section 501 of the LMRDA for breach of fiduciary duty that he failed to satisfy the
requirement of Section 501(a) that he first make a demand for remedial action by APFA before
filing suit under Section 501(b). Indeed, admitting that he did not do so because it was “moot” --
apparently abandoning any Section 501 claim -- he stated that “no claim under LMRDA § 501(a)
have [sic] been made.” Def. Motion pp. 3, 9; Pl. Am. Resp. 18. And, if Plaintiff only intended to
assert a state law breach of fiduciary claim against the individual APFA officers or the APFA,
such claim must be dismissed, inter alia., given the lack any supporting federal subject matter
jurisdiction. Accordingly, for these reasons alone, individual APFA officers Hedrick and Harris
must be dismissed as parties to this action.

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      Case 4:22-cv-00430-Y Document 34 Filed 08/18/22                  Page 6 of 8 PageID 853



          Finally, Plaintiff’s untimely “amended” response10 to Defendants’ Motion, while

suggesting Plaintiff’s recognition that his original Response to Defendants’ Motion might be in

need of repair, does not offer any substantive improvement to Plaintiff’s position. It is

apparently Plaintiff’s hopeful contention that the Fifth Circuit’s decision in Guidry v.

International Union of Operating Engineers, Local 406, 907 F.2d 1491(5th Cir. 1990), should be

read as holding that LMRDA Section 101(a)(5) both provides subject matter jurisdiction for

judicial review of Section 301(a) arbitration decisions and to overrule the well settled rule of law

that such arbitration decisions are not entitled to the “highly deferential” judicial review

applicable to all other arbitration decisions. Pl. Am. Resp. 17. Not quite. Guidry did not involve

review of any arbitration decision and merely addressed whether a union’s breach of its duty of

fair representation could be cognizable under the LMRDA, remanding that issue to the District

Court. Guidry, 907 F. 2d at 1492-93.

          It is worth reiterating here that, in contrast to internal union disciplinary proceedings

governed by Section 101(a)(5), APFA did not have any authority to initiate, was not a party to,

and did not take any position with respect to either the merits or remedy in the arbitration process

at issue in this case. Def. Motion pp. 1-3. Thus, the decision by the arbitrator in this case

cannot be said to "be (d)iscipline … done in the name of or on behalf of the union as an

organizational entity.” Breininger v. Sheet Metal Workers Int'l Ass'n Local Union No. 6, 493

U.S. 67, 97 (1987).




And Plaintiff has admittedly never even attempted to exhaust his mandatory internal union
remedies with respect to the allegations in this case. Def. Mot. 9; Pl. Am. Resp. 18.
These additional grounds for dismissal should also be sustained.
10
     See fn. 2, supra.

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       Case 4:22-cv-00430-Y Document 34 Filed 08/18/22                Page 7 of 8 PageID 854



          As the courts have consistently ruled, even where -- as is not the case here -- the union

filed and processed a grievance in its own stead, “(a) local union's action or inaction in the

processing of a grievance is not ‘discipline’ or punishment within the meaning of the LMRDA.”

Hebert v. Gen. Truck Drivers, Chauffeurs, Warehousemen & Helpers, Local 270, 2004 U.S.

Dist. LEXIS 13406 at *12-17 (E.D. La. 2004); Camporeale v. Airborne Freight Corp., 732 F.

Supp. 358, 366 (E.D.N.Y.), aff'd without op., 923 F.2d 842 (2nd Cir. 1990). Thus, Section

101(a)(5) cannot apply here, either as a basis of subject matter jurisdiction or as a standard of

judicial review.

III.      CONCLUSION

          For all of the reasons stated above, and in Defendants’ Motion to Dismiss, Plaintiff’s

claims should be dismissed in their entirety pursuant to both Federal Rules 12(b)(1) and 12(b)(6)

leaving Defendant APFA’s counterclaims, including for enforcement of the arbitration decision

pursuant to the governing deferential Section 301(a) standard of judicial review, to be resolved

by the Court.




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   Case 4:22-cv-00430-Y Document 34 Filed 08/18/22               Page 8 of 8 PageID 855



Date: August 18, 2022                       Respectfully Submitted,

                                              /s/ Sanford R. Denison
                                            SANFORD R. DENISON
                                            Tex. Bar No. 05655560
                                            Baab & Denison, LLP
                                            6301 Gaston Ave., Suite 550
                                            Dallas, TX 75214
                                            Tel.: (214) 637-0750
                                            Fax.: (214) 637-0730
                                            Email: denison@baabdenison.com

                                            WILLIAM W. OSBORNE JR.*
                                            D.C. Bar No. 912089
                                            Osborne Law Offices P.C.
                                            5335 Wisconsin Avenue N.W., Suite 440
                                            Washington, D.C. 20015
                                            Tel.: (202) 243-3200
                                            Fax: (202) 686-2977
                                            Email: b.osborne@osbornelaw.com

                                            Counsel for Defendant Counterclaim Plaintiff
                                            Association of Professional Flight Attendants, and
                                            Defendants Julie Hedrick and Erik Harris

                                            *Admitted Pro Hac Vice


                               CERTIFICATE OF SERVICE

       I certify that on this 18th day of August 2022 a true and correct copy of the foregoing
document was served on the below listed counsel of record for Plaintiff/Counterclaim Defendant
Vargas by a means permitted by Rule 5(b)(2) of the Federal Rules of Civil Procedure (“F.R.C.P.”).

       KERRI PHILLIPS
       HEATHER ABREU
       K.D. Phillips Law Firm, PLLC
       5700 Tennyson Parkway, Suite 300
       Plano, Texas 75024
       Phone: (972) 327-5800
       Fax: (940) 400-0089
       Email: kerri@KDphillipslaw.com
       Email: Heather@KDphillipslaw.com

                                             /s/ Sanford R. Denison
                                            SANFORD R. DENISON


                                               8
